Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 1 of 17 PageID: 7




                 Exhibit A
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Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 2 of 17 PageID: 8
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Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 3 of 17 PageID: 9
     HUD-L-003606-22 10/28/2022 1:29:55 PM Pg 3 of 16 Trans ID: LCV20223783835
Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 4 of 17 PageID: 10
     HUD-L-003606-22 10/28/2022 1:29:55 PM Pg 4 of 16 Trans ID: LCV20223783835
Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 5 of 17 PageID: 11
     HUD-L-003606-22 10/28/2022 1:29:55 PM Pg 5 of 16 Trans ID: LCV20223783835
Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 6 of 17 PageID: 12
     HUD-L-003606-22 10/28/2022 1:29:55 PM Pg 6 of 16 Trans ID: LCV20223783835
Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 7 of 17 PageID: 13
     HUD-L-003606-22 10/28/2022 1:29:55 PM Pg 7 of 16 Trans ID: LCV20223783835
Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 8 of 17 PageID: 14
     HUD-L-003606-22 10/28/2022 1:29:55 PM Pg 8 of 16 Trans ID: LCV20223783835
Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 9 of 17 PageID: 15
     HUD-L-003606-22 10/28/2022 1:29:55 PM Pg 9 of 16 Trans ID: LCV20223783835
Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 10 of 17 PageID: 16
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Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 11 of 17 PageID: 17
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Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 12 of 17 PageID: 18
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Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 13 of 17 PageID: 19
     HUD-L-003606-22 10/28/2022 1:29:55 PM Pg 13 of 16 Trans ID: LCV20223783835
Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 14 of 17 PageID: 20
     HUD-L-003606-22 10/28/2022 1:29:55 PM Pg 14 of 16 Trans ID: LCV20223783835
Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 15 of 17 PageID: 21
     HUD-L-003606-22 10/28/2022 1:29:55 PM Pg 15 of 16 Trans ID: LCV20223783835
Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 16 of 17 PageID: 22
     HUD-L-003606-22 10/28/2022 1:29:55 PM Pg 16 of 16 Trans ID: LCV20223783835
Case 2:22-cv-07332-CCC-CLW Document 1-1 Filed 12/16/22 Page 17 of 17 PageID: 23
